      Case 4:22-cv-02672      Document 15        Filed on 06/20/23 in TXSD        Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                            UNITED STATES DISTRICT COURT                                  June 20, 2023
                             SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


THOMASINA COLBERT NOLL,                          §
                                                 §
         Plaintiff,                              §
                                                 §
VS.                                              §   CIVIL ACTION NO. 4:22-CV-02672
                                                 §
FEDERAL HOME LOAN MORTGAGE                       §
CORPORATION, et al.,                             §
                                                 §
         Defendants.                             §


                                             ORDER

        On June 20, 2023 the Court dismissed this case for failure to prosecute. Pursuant to

Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the hearing, final judgment

is hereby ENTERED for Defendant.

        IT IS SO ORDERED.

         Signed at Houston, Texas on June 20, 2023.


                                                      _______________________________
                                                      Keith P. Ellison
                                                      United States District Judge




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